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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

 

DAVID HEAD, M.D.,

Plaintiff,

Case No. 3:19-CV-00023-TMB
Vv.

UNITED STATES OF AMERICA, Related Case: Head v. United States, et al.

Case No. 2:18-civ-00002-JWcS

Nee Oe Oe owe

Defendant.
FIRST AMENDED COMPLAINT
For his complaint, the plaintiff, DAVID HEAD, M.D., by and through his attorney,
Joe P. Josephson, Alaska Bar number 6102018, of Josephson Law Offices, LLC, 912 West
Sixth Avenue, Anchorage, Alaska, complains against the defendant, UNITED STATES
OF AMERICA as follows:

Part One. General Allegations Applicable to Each Claim for Relief.

1. Plaintiff is a resident and inhabitant of the State of Alaska, at Nome and is the

 

former Chief of Staff and Medical Director for NORTON SOUND HEALTH
CORPORATION (hereinafter “NSHC”). The plaintiff has lived in Nome, Alaska for

approximately three decades.

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2. NSHC is a not-for-profit legal entity organized under the laws of Alaska.

3. NSHC’s primary facility is a hospital located at or near Nome, Alaska. The
United States Attorney for the District of Alaska has previously contended that NSHC,
being a corporation organized under the laws of Alaska but managed or controlled, directly
or indirectly, by an “Indian tribe” or “Indian tribes”, is amenable to suit only in the United
States District Court for the District of Alaska, and that the acts and omissions of its
employees are cognizable, first, as acts or omissions of a federal employee of the United
States Department of Health and Human Services.

4. The United States Department of Health and Human Services, pursuant to 28
C.F.R. sec. 14.9(a) has notified undersigned attorney for plaintiff that it deems the
plaintiffs claim as not compensable under the Federal Tort Claims Act (FTCA).
Furthermore, the United States Department of Health and Human Services informed the
undersigned that if the plaintiff is dissatisfied with the denial of his claim under the FTCA,
this suit may be filed in the United States District Court.

5. JACOB IVANOFF is the former Chair of NSHC Board of Directors and was
Chair of the Corporation Board’s Executive Committee.

6. ANGIE GORN is employed as NSHC’s Chief Executive Officer and President.

7. Plaintiff commenced working for NSHC in July, 1988, and served for
approximately 29 years as its Chief of Staff and Medical Director. However, plaintiff's
most recent contract was scheduled to expire in April, 2018, but has now been terminated

by NSHC and ANGIE GORN.

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8. During his period of service as NSHC’s Chief of Staff and Medical Director,
plaintiff had attained many professional honors, including chairmanship of the Alaska State
Medical Board for many years, and selection as Alaska F amily Physician of the Year in
2014. During his period of service as Chief of Staff and Medical Director, plaintiff was
instrumental in upgrading and improving the quality of medical services available to
residents of Nome and of constituent villages; attracting a distinguished group of
professional employees; creating NSHC’s new facilities at Nome; and improving the
NSHC’s financial condition.

9. Another physician, Dr. Karen O’Neill, was employed by NSHC intermittently
for over 40 years and is Board certified in Internal Medicine, Family Medicine, and
Emergency Medicine. In 2016, Dr. O’Neill had allegedly been at fault by having allowed
certain prescriptions for controlled substances to have been forged and circulated.

10. In the winter of 2017, NSHC’s Board of Directors, led by JACOB IVANOFF
and encouraged by ANGIE GORN, chastised plaintiff for having taken what they alleged
had been a

“less aggressive approach (which) ultimately led to aligning
with Dr. Karen O’Neill, who had been suspended by the...
Board of Directors for having allegedly allowed certain
prescriptions of controlled substances to have been forged,
and then circulated in Anchorage.”
11. The allegation was based on the fact that the plaintiff, in keeping with written

policies and rules at NSHC’s hospital, correctly informed the Board of Directors that it

could not suspend a doctor’s privileges without consultation with the medical staff. (See

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Medical Staff By-Laws for Norton Sound Health Corporation, sections 6.2, 6.3 and Section
6.4).

12. The chastisement of the plaintiff, described above in paragraph 9, was
unreasonable and untrue. It expressly accused the plaintiff of being “aligned” with another
medical doctor who had been suspended for “having allegedly allowed certain
prescriptions of controlled substances to have been forged, and then circulated in
Anchorage.” The accusation was false on two counts. First, it impliedly linked the plaintiff
to wrongdoing. Second, it prejudged Dr. O’Neill who was ultimately exonerated after an
investigation by competent authority.

13. Subsection 6.3-1 of the NORTON SOUND HEALTH CORPORATION
MEDICAL STAFF BYLAWS, provides that the Medical Staff “is responsible for carrying
out delegated peer review and quality assessment functions.” Subsection 6.3-1 also
provides that “Any person may provide information to the Medical Staff about the
conduct, performance or competence of a Medical Staff member.” It further provides that
if “reliable information indicates” that a member of the Medical Staff “may have exhibited
acts, demeanor, or conduct reasonably likely to be. . . detrimental to patient safety or to
the delivery of quality patient care (or) unethical , unprofessional or illegal (or) contrary to
the Medical Staff Bylaws, Rules and Regulations, or Medical Staff and Hospital or NSHC
administrative policy”, then the Chief of Staff shall promptly notify the Vice President —
Hospital Services in writing of all requests for corrective action regarding a Medical Staff

member and keep him fully informed of all action taken in connection therewith.”

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Accordingly, subsection 6-3-1 is to be taken by the Medical Staff, and that the Chief of the
Medical Staff (formerly this plaintiff) is to keep the Vice President-Hospital Services “fully
informed of all action taken in connection therewith.”

14. Notwithstanding the quoted provisions from the Norton Sound Health
Corporation on Medical Staff By-laws, the privileges of Dr. O’Neill were suspended by
the Board, and without pay.

15. In suspending Dr. O’Neill without pay, NSHC’s Board of Directors not only
disregarded the Medical Staff By-laws; NSCH’s Board of Directors, led by JACOB
IVANOFF and encouraged by ANGIE GORN, acted, on plaintiff's information and belief,
contrary to the advice of NSHC’s in-house counsel as well as advice from counsel
employed by the private law firm called Davis Wright Tremaine (hereinafter “DWT”).

16.1. Moreover, the JACOB IVANOFF and ANGIE GORN caused the NSHC to
unreasonably and unfairly chastise plaintiff for “aligning with Dr. O’Neill rather than (to)
follow the intentions of the (NSHC’s) Board and administration”, complaining that “this
resulted in rallying behavior of medical staff and a seemingly purposeful misalignment
with Administration. . .”.

16.2. JACOB IVANOFF and ANGIE GORN also professed to sign a letter to the
State of Alaska Medical Board reporting Dr. O’Neill, and they placed a “Performance
Improvement Notice” in plaintiffs personnel file, accusing plaintiff of misconduct. (On

information and belief, the Alaska State Medical Board has since declined to punish or

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penalize Dr. O’ Neill and exonerated her from the assertions against her of either deliberate
misconduct or professional negligence).

17. In 2017, ANGIE GORN informed plaintiff that, over his objection, the
“Performance Improvement Notice will remain in your Personnel file and cannot be
removed.”

18. Although plaintiff's contract was not due to expire until April 30, 2018, NSHC
paid him a salary buy-out of $97,450.16, and terminated his professional services effective
February 3, 2018. Plaintiff is also henceforth denied use of the medical facilities and
equipment at the NSHC’s Nome hospital.

19. At all times pertinent, NSHC, JACOB IVANOFF , and ANGIE GORN, knew
that the plaintiff is a long-time resident of Nome, Alaska, and knew that without hospital
privileges at NORTON SOUND HEALTH CORPORATION it will be impossible for
plaintiff to work productively as a medical doctor in Nome, Alaska, so as to mitigate his
loss.

20. Although NSHC, JACOB IVANOFF, and ANGIE GORN treat what they have
done as merely a refusal to renew a contract, in reality they have wrongfully terminated
plaintiff's employment at NORTON SOUND HEALTH CORPORATION despite 29
continuous years of excellent service.

20.1. Plaintiff's previous action against NORTON SOUND HEALTH
CORPORATION was treated as a claim under the Federal Tort Claims Act (FTCA), on

the theory that plaintiff alleges negligent and wrongful acts or omissions of a federal

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employee of the United States Department of Health and Human Services, inasmuch as
NORTON SOUND HEATH CORPORATION is alleged to be under the aegis of one or
more Alaska Native corporations or “tribes”.

Part Two: First Claim for Relief: Damage to Plaintiff’s Reputation.

21. Plaintiff incorporates herein, in his First Claim for Relief, each and every
allegation set forth above in paragraphs 1 through 20.1, as if the same were expressly
reiterated herein.

22. By declining to re-employ plaintiff, and by the promulgation of press releases
defaming his reputation, under the circumstances and at the time described above, NSHC,
JACOB IVANOFF, and ANGIE GORN, and all and each of them, have caused plaintiff to
sustain and suffer economic loss because of injury to his professional reputation.
Moreover, the individuals actually intended to make plaintiff suffer such injury. The
quantum of that economic loss, which is continuing, will be proved at trial.

Part Three: Second Claim for Relief. Intentional and Negligent Infliction of
Emotional Distress.

23. Plaintiff incorporates herein, in this Second Claim for Relief, each and every
allegation set forth in paragraphs 1 through 22 above, as if these allegations were expressly
reiterated herein.

24. By eliminating plaintiff as a physician at its hospital, and by declining to renew
his employment as Chief of the Medical Staff, and by defaming plaintiffs character and
competency, NSHC, JACOB IVANOFF, and ANGIE GORN have caused plaintiff to

sustain and suffer emotional distress. Moreover, the individuals intended to inflict

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emotional distress upon plaintiff. (In the alternative, if the fact-finder find that the
infliction of emotional distress upon plaintiff was unintended, then the individuals should
be held responsible for their negligent infliction of emotional distress upon plaintiff. In
either event, the extent and nature of the distress caused to plaintiff will be proved at trial.

Part Four. Third Claim for Relief. Defendants’ Breach of the Covenant of
Good Faith and Fair Dealing.

25. Plaintiff incorporates herein, in this, his Third Claim for Relief, each and every
allegation set forth in paragraphs | through 24 above, as if these allegations were expressly
reiterated herein.

26. By (a) failing to extend plaintiff's contract, upon the false grounds that plaintiff
had not been sufficiently deferential to NSHC, JACOB IVANOFF, ANGIE GORN and the
Board of Directors, and (b) by falsely stating and insinuating, by express words and by
implication, that the plaintiff was “aligned” with a doctor who had allegedly acted
improperly, and (c) by ousting him from its hospital as a physician, they breached the
implied covenant of good faith and fair dealing which inures in every contract of
employment entered into in Alaska.

WHEREFORE, plaintiff, for his complaint, respectfully requests that the United
States District Court provide by the entry of appropriate orders, judgments and/or decrees
the following relief and remedies:

a. that the Court accept and assume jurisdiction to hear and determine this case and

controversy, and all aspects thereof;

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b. that the Court, and/or the jury summoned to decide this matter, adjudicate
plaintiff's claims and award him money judgment against the defendants, jointly and
severally, under each cause of action set forth above; and

c. that the Court award and grant to plaintiff such other, further, or different relief
whether in law or in equity, which the Court may find just and proper, as well as costs and
attorney fees plaintiff has incurred, or will incur, in the prosecution of this action.

DATED at Anchorage, Alaska, this 5" day of April, 2019.

Respectfully submitted:

/s/
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